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                      IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAII




   LAI YING TSANG; SCOTT JEFFERSON,              Case No. 1:23-CV-00333-MWJS-
                                                 KJM
                          Plaintiffs,
                vs.                              DECLARATION OF LAI YING
   PORTER MCGUIRE KIAKONA, LLP;                  “KADDY” TSANG
   ASSOCIATION OF APARTMENT
   OWNERS OF THE PACIFIC ISLANDER,               [IN SUPPORT OF PLAINTIFFS’
                                                 MEMORANDUM IN OPPOSITION
                          Defendants.            TO DEFENDANT’S MOTION FOR
                                                 SUMMARY JUDGMENT AND
                                                 ATTORNEYS’ FEES]




                    DECLARATION OF LAI YING “KADDY” TSANG

               I, LAI YING “KADDY” TSANG, declare and state as follows:

               1.     The following facts written in English and comprise my

   Declaration have been interpreted to me by Natalie Tse, Esq., a Cantonese-

   speaking lawyer, and they accurately state my personal knowledge of the facts

   and if called as a witness, I could and would testify as to their accuracy.

               2.     I was born, raised and educated in Hong Kong.

               3.     In 2004, at the age of 40, I started to work for a Hong Kong

   jewelry company and was sent to New York to work for months at a time.

               4.     In 2007, I met Scott Jefferson, who was a swimming

   instructor, in New York City and two years later, we got married.
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                 5.     When we got married, I was renting a small apartment in

   Brooklyn and Scott lived in his own studio apartment, less than 15 feet by 15

   feet, in New York City.        We would go back and forth between the two

   residences.

                 6.     In 2015, Scott bought a tiny Waikiki studio apartment in

   Kuhio Village.      It is approximately the same size as Scott’s New York City

   apartment. We would stay there together on our many visits to Hawaii.

                 7.     The Kuhio Village apartment is like a hotel room and the

   other people staying in the apartment are tourists, coming and going often.

   Scott and I were interested in getting someplace quieter and with more stable

   neighbors.

                 8.     In 2019, Scott retired from his job as a swimming instructor

   and I knew he really wanted to move to Hawaii. He found a place in the Pacific

   Islander, Waikiki (the “Apartment”), which was slightly bigger than the Kuhio

   Village Apartment and was for long-term residents only.

                 9.     Scott showed me pictures of the Apartment, and I thought it

   looked good.

                 10.    In July 2019, Scott bought the Apartment in my name and

   paid for it by wiring money from my Chase Bank account to Hawaii.

                 11.    Attached as Exhibit “1” is a true and correct copies of my

   Chase Bank Statements for June and July 2019.

                 12.    Attached as Exhibit “2” is the Final Settlement Statement on

   the Purchase of the Apartment.


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                13.   Attached as Exhibit “3” is a true and correct copy of the

   Deed to the Apartment.

                14.   The Deed states that I am “unmarried”. I do not know why it

   says that.

                I declare under penalty of perjury that the foregoing is true and

   correct to the best of my knowledge, information, and belief.

                Executed this 25th day of October 2024 in New York.




                                        LAI YING “KADDY” TSANG




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